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                           CERTIFICATE OF SERVICE

      IT IS HEREBY CERTIFIED that service of the above INTERIM STATUS REPORT
 OF R. WAYNE KLEIN, RECEIVER RELATING TO MOTION TO CLOSE
 RECEIVERSHIP ESTATE was filed with the Court on this 3rd day of December 2020, and
 served via ECF on all parties who have requested notice in this case.


                                      /s/ Candy Long
